                                UNITED STATES DISTRICT COURT                           Motion GRANTED.
                            FOR THE MIDDLE DISTRICT OF TENNESSEE                       Hearing reset for
                                     NASHVILLE DIVISION
                                                                                       8/12/14 at 2:00 p.m.
   UNITED STATES OF AMERICA                        )
                                                   )       No. 3:07-00223
           v.                                      )       Judge Trauger
                                                   )
   REGGIE K. JACKSON                               )

                         MOTION TO CONTINUE REVOCATION HEARING

           Comes the defendant, by and through counsel, and hereby moves this Court to continue

   the revocation hearing currently set for July 31, 2014. In support of this motion, defendant

   would state and show that counsel for Mr. Jackson will be in a trial in this Court in the matter of

   U.S.A. v. Shaub from July 29 - August 8, 2014.

           Assistant United States Attorney Brent Hannafan advises that he has no objection to the

   requested continuance.

                                                 Respectfully submitted,

                                                 s/ Sumter L. Camp
                                                 SUMTER L. CAMP
                                                 Assistant Federal Public Defender
                                                 Attorney for Defendant
                                                 810 Broadway, Suite 200
                                                 Nashville, TN 37203
                                                 615-736-5047

                                     CERTIFICATE OF SERVICE

        I hereby certify that on the 23rd day of July, 2014, I electronically filed the foregoing Motion to
Continue Revocation Hearing with the clerk of the court by using the CM/ECF system, which will send
a notice of Electronic Filing to the following: the Honorable Brent Hannafan, Assistant United States
Attorney, 110 Ninth Avenue South, Suite A961, Nashville, Tennessee 37203.
        This document has been served, via e-mail, on U.S. Probation Officer Amanda Russell, U.S.
Probation Office, P.O. Box 515, Cookeville, Tennessee 38503.

                                                 s/ Sumter L. Camp
                                                 SUMTER L. CAMP



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